          Case 2:15-cv-02262-SRB Document 54 Filed 04/07/16 Page 1 of 13



 1   Rochelle N. Belnap
     The Arizona Credit Law Group, P.L.L.C.
 2   700 E. Baseline Rd. Ste. C-3
 3   Tempe, AZ 85283
     State Bar No. 029172
 4   Fax: (480) 907-7126
 5   rochelle@azclg.com
     Tel: (480) 907-6088
 6
     Attorney for Plaintiffs
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9
                                   FOR THE DISTRICT OF ARIZONA
10
   Michael G. Liddicoat and Sally L.            No: 2:15-cv-02262-SRB
11 Liddicoat, husband and wife,
                                                REVISED FIRST AMENDED
12
                                                COMPLAINT
                     Plaintiffs,
13
     v.
14
15 Shellpoint Mortgage Servicing, a
   subsidiary of Shellpoint Partners,
16 L.L.C., a Delaware limited liability
17 company; New Penn Financial, L.L.C.
   dba Shellpoint Mortgage Servicing,
18 L.L.C., Equifax Information Services,
   L.L.C., a Georgia limited liability
19
   company; Experian Information
20 Solutions, Inc., an Ohio corporation; &
   Trans Union, L.L.C., a Delaware
21 limited liability company.
22
                    Defendants.
23
24          COMES NOW the Plaintiffs, Michael and Sally Liddicoat, by and through
25 undersigned counsel, for its claims against the Defendants, allege as follows:
26
                                         THE PARTIES
27
28    1. Plaintiffs, Michael G. Liddicoat and Sally L. Liddicoat, husband and wife, are
     Case 2:15-cv-02262-SRB Document 54 Filed 04/07/16 Page 2 of 13



1       residents of the State of Arizona and Michael G. Liddicoat is the former owner of
2       property located at 9452 West Alex Avenue, Peoria, Arizona 85382 who held title as
3
        the sole and separate property of Michael G. Liddicoat with a disclaimer deed filed
4
5       by Sally L. Liddicoat (herein the “Peoria Property”).

6    2. Plaintiffs, Michael G. Liddicoat and Sally L. Liddicoat, executed a note on the
7       Peoria Property to JP Morgan Chase Bank, N.A. for a $49,000 line of credit dated
8
        August 2007; the note was subsequently transferred to Resurgent Mortgage
9
10      Servicing after the foreclosure, who then transferred servicing to Shellpoint

11      Mortgage Servicing in March 2014.
12
     3. Defendant, Shellpoint Mortgage Servicing, a subsidiary of Shellpoint Partners,
13
        L.L.C. New Penn Financial, L.L.C. dba Shellpoint Mortgage Servicing, L.L.C.,
14
15      herein “Shellpoint,” upon information and belief is a national mortgage servicer and

16      serviced the mortgage for the Plaintiffs’ Peoria Property; however, Shellpoint
17
        Partners, L.L.C.’s subsidiary, New Penn Financial, L.L.C., is authorized to do
18
        business in Maricopa County, Arizona., and Shellpoint Mortgage Servicing is a
19
20      registered trade name in the state of Arizona.

21   4. Defendants, Equifax Information Services, L.L.C., herein “Equifax,” Experian
22
        Information Solutions, Inc., herein “Experian,” and Trans Union, L.L.C., herein
23
        “Transunion,” upon information and belief, are credit reporting agencies as defined
24
25      by the Fair Credit Reporting Act § 1681a, and furnish consumer credit reports,

26      including credit information of the Plaintiffs.
27
28
                                     First Amended Complaint- 2
     Case 2:15-cv-02262-SRB Document 54 Filed 04/07/16 Page 3 of 13



1                             PRELIMINARY STATEMENT
2    5. This is an action for actual, statutory, and punitive damages, costs and attorney’s
3
        fees, including recovery for emotional distress, and humiliation, for False Reporting
4
5       and Unfair and Deceptive Collection Practices brought pursuant to 15 U.S.C. § 1681

6       et seq. (The Federal Fair Credit Reporting Act), and 15 U.S.C. §§ 1692-1692p (The
7
        Fair Debt Collection Practices Act).
8
     6. In 2014, Plaintiffs obtained a copy of their credit reports and discovered that
9
10      Defendant Shellpoint was reporting inaccurate information regarding Mr.

11      Liddicoat’s former second mortgage on both Plaintiffs’ credit reports; specifically
12
        Shellpoint reported that Plaintiffs owed an unpaid balance of $55,830, an unpaid
13
        past due balance of $55,335, reported the status of the account as an unpaid “charge
14
15      off,” and reported Plaintiffs as late every month since June 2009. These errors are

16      herein referred to as the “Shellpoint Misrepresentation.” Exhibit A.
17
     7. Chase was the mortgage servicer for the first and second mortgage on the
18
        property, and in May 2015, nearly six years after the foreclosure, Chase
19
20      reported the first and second mortgage as closed accounts with a $0 balance

21      and reported the date of last activity, or the date of last payment, as August
22
        2008. Exhibit A.
23
     8. Despite Chase having sold the loan, Chase continued to report the second
24
25      mortgage account to the Defendant credit reporting agencies (“CRAs”) as a
26      closed charge off account with a $0 balance. Exhibit A.
27
     9. According to Shellpoint, the loan was sold to LVNV Funding, L.L.C., and the
28
                                    First Amended Complaint- 3
     Case 2:15-cv-02262-SRB Document 54 Filed 04/07/16 Page 4 of 13



1       loan was serviced by Resurgent Capital Services, L.P. (“Resurgent”) since
2       October 23, 2013. Exhibit G.
3
     10. Resurgent also reported the loan as a closed charge off account with a $0
4
5       balance. Exhibit A.

6    11. This second mortgage loan had reported as a closed account with a zero
7       balance for 6 years prior to Shellpoint acquiring servicing of the loan. Exhibit
8
        H.
9
10   12. The Shellpoint Misrepresentation is an error because the Peoria Property that was

11      used to secure the debt was sold through foreclosure in June 2009 and the statute of
12
        limitations for any breach of contract action subsequently expired on or before
13
        January 2015 pursuant to A.R.S. § 12-548.
14
15   13. In the alternative, Shellpoint had no recourse against Plaintiffs beyond the sale of the

16      collateral, because the subject mortgage is a non-recourse debt pursuant to A.R.S. §§
17
        33-729, 33-814.
18
     14. In the alternative, Shellpoint is not entitled to collect the debt.
19
20   15. Plaintiffs disputed the reporting of the account with the Defendants in January 2015.

21      In January 2015, The Plaintiffs disputed the errors with the Defendant CRAs
22
        who notified Shellpoint of the dispute; however, Plaintiffs allege that none of
23
        the Defendants conducted a reasonable investigation of the disputed
24
25      information in violation of FCRA 15 U.S.C. §§ 1681i(a)(1)(A) and 1681s-2(b).
26   16. Pursuant to Shellpoint’s own written statement dated January 30, 2015, Shellpoint
27
        agreed to cease reporting the loan to the major credit bureaus and update their own
28
                                       First Amended Complaint- 4
     Case 2:15-cv-02262-SRB Document 54 Filed 04/07/16 Page 5 of 13



1       records. Exhibit B.
2    17. In May 2015, Plaintiffs applied for a mortgage loan and discovered the Shellpoint
3
        Misrepresentation remained on their credit report. Exhibit C.
4
5    18. Shellpoint is required to report closed mortgage transactions where no balance is due

6       as closed with zero balance due, zero balance past due, with a status of “paid” or
7       “paid charge-off,” or “settled.” Exhibit D.
8
     19. Shellpoint is permitted to report the Peoria Property account as a closed mortgage
9
10      account with a status of charge off with a balance of zero, past due balance of zero,

11      and closed as of the date of sale, or June 2009, and Shellpoint is allowed to report
12
        this information for seven years after the last payment was made prior to the
13
        foreclosure pursuant to the Fair Credit Reporting Act. 15 U.S.C. § 1681c.
14
15   20. Shellpoint is misrepresenting the status of the account by reporting the Shellpoint

16      Misrepresentation because the unpaid balance represents to all viewing the
17
        Plaintiffs’ credit reports that a balance remains due, owing, and legally enforceable;
18
        in other words, that the consumers remain personally liable for the debt.
19
20   21. Shellpoint is not permitted to report the mortgage account associated with the Peoria

21      Property as having an unpaid balance, past due balance, or status of unpaid “charge
22
        off.”
23
     22. Shellpoint cannot report a debt as due and owing by the Plaintiffs after Shellpoint
24
25      agreed to discontinue reporting and because the Plaintiffs definitively are not being

26      held liable for the debt by Shellpoint or given an opportunity to resolve the debt by
27
        Shellpoint.
28
                                    First Amended Complaint- 5
     Case 2:15-cv-02262-SRB Document 54 Filed 04/07/16 Page 6 of 13



1    23. Shellpoint’s reporting of an unenforceable debt as due is a misrepresentation of fact
2       and violates The Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692e-f, and the
3
        Fair Credit Reporting Act, 15 U.S.C. §§ 1681i, 1681s-2.
4
5    24. Shellpoint is only permitted to report information about the account for seven years

6       pursuant to the Fair Credit Reporting Act. 15 U.S.C. § 1681c; however, the account
7       remains on Plaintiffs credit report. Exhibit E.
8
     25. Shellpoint is not permitted to falsely report information. 15 U.S.C. § 1681s-2.
9
10   26. Shellpoint, Equifax, Experian, and Transunion negligently and maliciously failed to

11      use reasonable procedures to investigate the Plaintiffs’ dispute of credit information
12
        directly in violation of FCRA 15 U.S.C. §§ 1681i(a)(1)(A), and 1681s-2(b).
13
     27. Shellpoint with malicious and evil intent continues to report this account with an
14
15      unpaid balance to the credit reporting agencies while having actual knowledge that

16      the Plaintiffs are not personally liable for the debt.
17
     28. Defendants, Equifax, Experian, and Transunion, herein “Defendant Credit Bureaus.”
18
        were notified of the error through disputes conducted by the Plaintiffs undersigned
19
20      counsel and by Shellpoint. Exhibit B and F.

21   29. Defendants Equifax, Experian and Trans Union negligently or with willful
22
        intent violated the FCRA 15 U.S.C. §§ 1681i(a)(1)(A) by failing to implement
23
        and use reasonable procedures to investigate and assure maximum possible
24
25      accuracy, by allowing multiple entities to report conflicting and inaccurate
26      information about Plaintiffs second mortgage account, and by allowing
27
        Shellpoint to continue to report an unpaid balance despite Plaintiffs’ dispute
28
                                     First Amended Complaint- 6
     Case 2:15-cv-02262-SRB Document 54 Filed 04/07/16 Page 7 of 13



1       specifically informing the CRAs that the debt was potentially non-recourse or
2       in the alternative that the statute of limitations had expired. Exhibit F.
3
     30. Defendants Equifax, Experian, and Trans Union negligently or with willful
4
5       intent violated the FCRA 15 U.S.C. §§ 1681c by failing to implement and use

6       reasonable procedures to investigate and assure maximum possible accuracy by
7       allowing Shellpoint to report the account on the Plaintiffs’ credit reports for
8
        longer than seven years.
9
10   31. Shellpoint, Equifax, Experian, and Transunion with malicious and evil intent have

11      failed to implement reasonable procedures to investigate disputes of credit
12
        information as required by the Fair Credit Reporting Act.
13
     32. Shellpoint is using credit reporting is a method of debt collection.
14
15   33. Shellpoint is using credit reporting to illegally enforce collection of the debt in

16      violation of the Fair Credit Reporting Act 15 U.S.C. §1681s-2(a) and the Fair Debt
17
        Collection Practices Act 15 U.S.C. §§ 1692e(2), 1692f(6).
18
     34. The Plaintiffs are attempting to rebuild their credit rating, it has been nearly 7 years
19
20      since the foreclosure and they have expended great effort to improve their financial

21      position and credit rating.
22
     35. Plaintiffs were embarrassed when they saw the balance because they believed the
23
        matter was resolved and they were forced to relive the traumatic experience of
24
25      losing their home.

26   36. When the Plaintiffs discovered the unpaid balance reporting on their credit reports,
27
        they suffered significant stress and embarrassment and have been afraid to apply for
28
                                      First Amended Complaint- 7
     Case 2:15-cv-02262-SRB Document 54 Filed 04/07/16 Page 8 of 13



1       personal or business financing for fear of being turned down again; and because they
2       are unable to rebuild their credit they are paying high interest rates on their current
3
        mortgage.
4
5    37. Plaintiffs are experiencing financial harm as a result of the Shellpoint

6       Misrepresentation in the form of higher interest rates, higher insurance rates, higher
7       security deposits and higher down payments over the last two years.
8
     38. Plaintiffs have been denied credit-based financing as a result of the Shellpoint
9
10      Misrepresentation.

11                                      JURISDICTION
12
     39. This Court has jurisdiction over this action under 15 U.S.C. § 1681(p) and 15 U.S.C.
13
        1692k(d). An action to enforce liability created under The Fair Credit Reporting Act
14
15      or The Fair Debt Collection Practices Act may be brought in any appropriate United

16      States district court without regard to the amount in controversy or in any other court
17
        of competent jurisdiction within two years of the date of discovery of the violation
18
        by the Plaintiff or within five years after the date on which the violation occurs for
19
20      Fair Credit Reporting Act cases, or within 1 year from the date on which the

21      violation occurs for Fair Debt Collection Practices Act cases.
22
     40. Venue is proper pursuant to 28 U.S.C. § 1391 because the claim of action arose in
23
        Maricopa County, Arizona. The note for the mortgage debt was executed in
24
25      Maricopa County, Arizona. The subsequent reporting of credit information relating
26      to said note gives rise to this cause of action subject to federal question jurisdiction,
27
        as well as diversity jurisdiction.
28
                                     First Amended Complaint- 8
     Case 2:15-cv-02262-SRB Document 54 Filed 04/07/16 Page 9 of 13



1                              FIRST CLAIM FOR RELIEF
2                                  FALSE REPORTING
3
     41. Plaintiffs re-allege and incorporate paragraphs 1 through 33 above as fully set forth
4
5       herein.

6    42. Defendant Shellpoint violated FCRA 15 U.S.C. § 1681s-2(b) by continuing to report
7       Plaintiffs’ former mortgage account with the unpaid balance of $55,830, the past due
8
        balance of $55,335, and with a status of unpaid “charge off;” the result of failing to
9
10      fully and properly investigate the Plaintiffs’ dispute of the Shellpoint

11      Misrepresentation, failing to accurately respond to the Defendant Credit Bureaus,
12
        and by failing to permanently and lawfully correct its own internal records to
13
        prevent the re-reporting of the Shellpoint Misrepresentation to the Defendant Credit
14
15      Bureaus.

16   43. Defendants, Equifax, Experian, and Transunion, violated FCRA 15 U.S.C. § 1681i
17
        by failing to investigate and respond in a timely manner and by failing to maintain
18
        reasonable procedures to assure maximum possible accuracy of the information
19
20      concerning the Shellpoint Misrepresentation.

21   44. Defendants violated FCRA 15 U.S.C. § 1681c by reporting the Shellpoint
22
        Misrepresentation for longer than 7 years.
23
     45. Defendants’ actions were negligent as defined by FCRA 15 U.S.C. §§ 1681n.
24
25   46. Defendants’ actions were malicious and conducted with evil intent as defined by
26      FCRA 15 U.S.C. § 1681 o.
27
     47. As a result of this conduct, action, and inaction by Defendants, Plaintiffs suffered
28
                                    First Amended Complaint- 9
     Case 2:15-cv-02262-SRB Document 54 Filed 04/07/16 Page 10 of 13



1       damage by paying higher rates on their mortgage, higher insurance rates and
2       security deposits, loss of credit, loss of the ability to purchase and benefit from
3
        credit, and the mental and emotional pain, anguish, humiliation, and embarrassment
4
5       which prevents Plaintiffs from applying for credit personally or for their business to

6       their extreme detriment.
7    48. The Defendants conduct, action, and inaction render them liable for actual, statutory,
8
        and punitive damages in the amount to be determined by the Court pursuant to The
9
10      Fair Credit Reporting Act 15 U.S.C. § 1681n, or in the alternative Plaintiffs are

11      entitled to recover actual damages pursuant to 15 U.S.C. § 1681o.
12
     49. Plaintiffs are entitled to recover costs and attorney fees from Defendants in an
13
        amount to be determined by the court pursuant to 15 U.S.C. §§ 1681n-o.
14
15                            SECOND CLAIM FOR RELIEF

16                UNFAIR AND DECEPTIVE COLLECTION PRACTICES
17
     50. Plaintiffs re-allege and incorporate paragraphs 1 through 42 above as fully set forth
18
        herein.
19
20   51. Shellpoint falsely represented the character, amount, and legal status of the debt to
21      the consumer via mail and to third parties via credit reporting by reporting sums not
22
        legally enforceable; specifically by representing that Plaintiffs owed $55,830.00
23
        when Shellpoint knew or should have known that the debt was expired, non-
24
25      recourse, or otherwise uncollectable in violation of 15 U.S.C. § 1692e(2)(A).
26   52. Shellpoint falsely threatened to take action that could not legally be taken or that
27
        was not intended to be taken by reporting the mortgage debt as due and legally
28
                                    First Amended Complaint- 10
     Case 2:15-cv-02262-SRB Document 54 Filed 04/07/16 Page 11 of 13



1       enforceable to the credit bureaus when Shellpoint knew or should have known that
2       Shellpoint could not pursue legal action to enforce the debt as is implied by the
3
        method of credit reporting in violation of 15 U.S.C. §1692e(5).
4
5    53. Shellpoint communicated credit information which is known or should be known to

6       be false, including the failure to communicate that the debt was disputed by
7       communicating the Shellpoint Misrepresentation to the major credit reporting
8
        agencies in violation of 15 U.S.C. § 1692e(8).
9
10   54. Shellpoint used false representation or deceptive means to collect the debt by using

11      credit reporting as a collection method to falsely portray the debt as valid and
12
        enforceable when Shellpoint knew or should have known that the debt was expired,
13
        unenforceable, or otherwise uncollectable in violation of 15 U.S.C. § 1692e(10).
14
15   55. Shellpoint used false representation or deceptive means to collect the debt by failing

16      to inform Plaintiffs that the debt was not legally enforceable, expired, or otherwise
17
        uncollectable in violation of 15 U.S.C. §1692e(10).
18
     56. Shellpoint used unfair or unconscionable means to collect the debt by attempting to
19
20      collect amounts that were not legally due in violation of 15 U.S.C. § 1692f(1).

21   57. Shellpoint used unfair or unconscionable means to collect the debt by threatening to
22
        foreclose or otherwise dispose of the Plaintiffs’ real estate property though there was
23
        no present right to possession of the property or intention to take possession of the
24
25      property in violation of 15 U.S.C. § 1692f(6).

26   58. Shellpoint failed to comply with The Fair Debt Collection Practices Act and are
27
        liable to Plaintiffs for actual damages and additional damages as the court may
28
                                    First Amended Complaint- 11
        Case 2:15-cv-02262-SRB Document 54 Filed 04/07/16 Page 12 of 13



 1         allow, up to $1,000.00 per incident pursuant to 15 U.S.C. §1692k.
 2      59. Plaintiffs are entitled to recover costs and attorney fees from Defendant in an
 3
           amount to be determined by the court pursuant to 15 U.S.C. § 1692k(a)(3).
 4
 5
 6   WHEREFORE, Plaintiffs demand judgment for compensatory, actual, and punitive
 7   damages against Defendant for no less than $500,000, for their attorney fees and costs, for
 8
     pre-judgment and post-judgment interest at the legal rate, and such other relief the Court
 9
10 deems just, equitable, and proper.
11         DATED this 7th Day of April, 2016.
12
                                                        /s/ Rochelle N. Belnap
13
                                                        Rochelle N. Belnap
14                                                      The Arizona Credit Law Group, P.L.L.C.
15                                                      700 E Baseline Rd Suite C-3
                                                        Tempe, AZ 85283
16                                                      (480) 907-6088
17
                                                        Attorneys for Plaintiffs
18
19
20
21
22
23
24
25
26
27
28
                                        First Amended Complaint- 12
        Case 2:15-cv-02262-SRB Document 54 Filed 04/07/16 Page 13 of 13



 1                              CERTIFICATE OF SERVICE
 2 I hereby certify that on April 7, 2016, the Plaintiffs’ First Amended Complaint was served
 3 this day on the below listed Defendants electronically using the Court’s CM/ECF System.
 4   /s/ Rochelle N Belnap
 5   Rochelle N Belnap
     The Arizona Credit Law Group, P.L.L.C.
 6   700 E Baseline Rd Suite C-3
     Tempe, AZ 85283
 7   (480) 907-6088
 8   Attorney for Plaintiffs

 9   Todd D. Erb                                       Jacob C. Jones
10   Lewis Roca Rothgerber Christie LLP                Snell & Wilmer LLP
     201 E Washington St Ste 1200                      One Arizona Center
11   Phoenix, AZ 85004-2595                            400 E Van Buren Ste 1900
     Email: terb@lrrc.com                              Phoenix, AZ 85004-2202
12
     Local Counsel for Shellpoint Mortgage             Email: jcjones@swlaw.com
13   Servicing                                         Local Counsel for Equifax Information
                                                       Services, LLC
14 Alexandra Fries
15 Jones Day                                           Amanda Loughmiller
   555 S Flower St. 50th Floor                         Strasburger & Price
16 Los Angeles, CA 90071-2300                          2801 Network Blvd. Suite 600
   Email: Afries@JonesDay.com                          Frisco, TX 75034
17
   Counsel for Experian Information                    Email:
18 Soluctions                                          amanda.loughmiller@strasburger.com
                                                       Corporate Counsel for Trans Union, LLC
19
                                                       Philip Wooten
20
                                                       Philip R. Wooten PC
21                                                     3413 E Equestrian Trail
                                                       Phoenix, AZ 85044-3403
22                                                     Email: Philip.wooten@azbar.org
                                                       Local Counsel for Trans Union, LLC
23
24
25
26
27
28
                                      First Amended Complaint- 13
